 Case 1:19-cr-00253-TSE Document 290 Filed 06/09/20 Page 1 of 8 PageID# 1356



                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         EASTERN DISTRICT OF VIRGINIA

                                      Alexandria Division


 UNITED STATES OF AMERICA                             Crim. No. 1:19-CR-253

                v.                                    The Honorable T.S. Ellis, III
 KRISTOPHER LEE DALLMANN,

 DOUGLAS M. COURSON,

 FELIPE GARCIA,

 JARED EDWARD JAUREQUI,
     a/k/a Jared Edwards,

 PETER H. HUBER, and

 YOANY VAILLANT,
    a/k/a Yoany Vaillant Fajardo,

                Defendants.


         MOTION TO COMPEL DISCLOSURE OF SEALED EXHIBITS
  TO THE UNITED STATES AND OPPOSITION TO DEFENDANT’S MOTION FOR
          LEAVE TO FILE EXHIBITS EX PARTE AND UNDER SEAL

       On June 8, 2020, Defendant Kristopher Lee Dallmann filed a sealed motion to continue a

motions hearing set for June 19, 2020. (Def.’s Mot. to Continue, Dkt. 286.) Then, on June 9,

2020, without first seeking leave of the Court, Mr. Dallmann filed eight exhibits in support of his

Motion to Continue under seal and ex parte. (Def.’s Exhibits, Dkt. 288.) After the government

inquired with counsel for Mr. Dallmann about these exhibits, Mr. Dallmann’s counsel then

moved for leave to file the exhibits ex parte and under seal. (Def.’s Mot. to File, Dkt. 289.)

For the reasons set forth below, this Court should deny Mr. Dallmann’s motion and require him
 Case 1:19-cr-00253-TSE Document 290 Filed 06/09/20 Page 2 of 8 PageID# 1357



to disclose these exhibits to the government.

       In support of this Motion, the government states as follows:

       1.      Mr. Dallmann currently resides in Las Vegas, Nevada. On June 9, 2020, the

government contacted Mr. Dallmann’s Pretrial Services Officer in Las Vegas, who advised that

Mr. Dallmann refuses to comply with the Court’s Order setting forth the terms of his supervised

release. (Order Setting Conditions of Release, Dkt. 102.) Among other things, this Order

requires Mr. Dallmann to report on a regular basis to Pretrial Services, actively seek

employment, submit to drug testing if required by his pretrial services officer, and participate in

substance abuse therapy and counseling if directed by his pretrial services officer. (Id.) Yet,

according to the Pretrial Services Officer, Mr. Dallmann declines to take drug tests, refuses to

provide medical records upon request (despite multiple requests for such records), and insists on

conducting supervision checks by telephone call instead of videoconference. This is so despite

the Court entering an Order directing Mr. Dallmann to provide urine samples for drug testing.

(May 12, 2020 Order, Dkt. 255.) In other words, according to his Pretrial Services Officer, Mr.

Dallmann will not comply with the Court’s orders, and, in effect, is not currently being

supervised. The Court has scheduled a hearing for July 10, 2020, to address Mr. Dallmann’s

non-compliance with the terms of his pretrial supervision. (Petition for Action on Conditions of

Pretrial Release, Dkt. 257; Summons, Dkt. 259.)

       2.      Co-defendant Jared Jaurequi is Mr. Dallmann’s spouse. Mr. Jaurequi lives with

Mr. Dallmann, and, like Mr. Dallmann, refuses to comply with the Court’s Order setting the

terms of his supervised release. (Order Setting Conditions of Release, Dkt. 63; Order Setting

Conditions of Release, Dkt. 103). Among other things, Mr. Jaurequi is required to report on a

regular basis to Pretrial Services, seek employment, submit to drug testing if required by his




                                                 2
 Case 1:19-cr-00253-TSE Document 290 Filed 06/09/20 Page 3 of 8 PageID# 1358



pretrial services officer, participate in substance abuse therapy and counseling if directed by the

pretrial services officer, and participate in a program approved by U.S. Probation/Pretrial

Services for mental health treatment. (Id.) Yet, according to information provided by Mr.

Jaurequi’s Pretrial Services Officer in Las Vegas, Mr. Jaurequi last submitted to drug testing on

February 6, 2020 (a test that screened positive), and has repeatedly failed to report as required for

drug testing since then. Moreover, Mr. Dallmann apparently has started joining Mr. Jaurequi’s

calls with his Pretrial Services Officer, and these calls have devolved into Mr. Dallmann

screaming at, yelling at, and insulting Mr. Jaurequi’s Pretrial Services Officer. Incredibly, this

willful flouting of the Court’s Order is occurring after the Court on December 6, 2019, and again

on January 10, 2020, found that Mr. Jaurequi had violated the conditions of his supervised

release (remanding him to custody for brief periods on both occasions), after Pretrial Services

filed a third petition on February 12, 2020, regarding Mr. Jaurequi’s continued violations of his

conditions of supervised release (which currently is pending before this Court and is set to be

addressed on June 19, 2020), after the Court entered an Order on May 12, 2020, directing Mr.

Jaurequi to submit for drug testing, and after Pretrial Services filed an addendum to its third

petition. (Dec. 6, 2019 Minute Entry Order (MEO), Dkt. 126; MEO, Dkt. 173; Pet. on Pretrial

Release Violation, Dkt. 199; May 12, 2020 Order, Dkt. 254; Addendum to Pet., Dkt. 264.)

       3.      Mr. Dallmann now seeks a continuance of the June 19, 2020 motions hearing on

the bases that: (a) he allegedly suffers from a particular health condition for which he supposedly

has been advised not to travel locally or domestically for up to 12 months; and (b) he does not

have internet access and thus cannot attend the hearing remotely. In other words, Mr. Dallmann

seeks an indefinite continuance of the June 19 hearing and, by extension, other hearings that will

occur before the Court between now and June 2021, including the trial that has been set for




                                                 3
 Case 1:19-cr-00253-TSE Document 290 Filed 06/09/20 Page 4 of 8 PageID# 1359



January 19, 2021.

       4.      As noted above, this Court also has scheduled for June 19, 2020, a hearing on Mr.

Jaurequi’s violations of pretrial release. Mr. Jaurequi, however, has advised this Court that he

will not attend in person. And, although Mr. Jaurequi’s advisement made no mention of his lack

of internet access, the government assumes he would make the same claim as Mr. Dallmann

given that they reside together. According to a physician’s note provided by Mr. Jaurequi, Mr.

Jaurequi cannot travel to Alexandria because he is Mr. Dallmann’s “caregiver” and must remain

“in close proximity” to Mr. Dallmann “throughout the day.” Markedly, Mr. Dallmann’s and

Mr. Jaurequi’s Pretrial Services Officers neither are aware of why Mr. Dallmann would need a

caregiver, nor why only Mr. Jarequi (as opposed to someone else, such as a trained home health

aide) can provide Mr. Dallmann with the care he supposedly needs.

       5.      As a result, both Mr. Dallmann and Mr. Jaurequi have put Mr. Dallmann’s

claimed health at issue with respect to the hearings set for June 19, 2020. They also have cast

doubt on all future hearings in this case, thus creating uncertainty not only for the government

and its witnesses but also for the other defendants and the Court’s management of its docket.

       6.      In addition, the government is skeptical of Mr. Dallmann’s and Mr. Jaurequi’s

claims, and believes that, at a minimum, the Court, Pretrial Services, and the government should

have the opportunity to examine closely Mr. Dallmann’s and Mr. Jaurequi’s assertions. For

example, Mr. Dallmann’s Pretrial Services Officer has advised undersigned counsel that, on May

14, 2020, Mr. Dallmann stated that: (1) he had applied to work at, and been approved by,

DoorDash, which is an on-demand food delivery service; and (2) Mr. Jaurequi was leaving their

residence to go grocery shopping and run errands. Thus, if Mr. Dallmann is earning money by

driving around Las Vegas, going into restaurants to pick up food, and delivering that food to




                                                 4
 Case 1:19-cr-00253-TSE Document 290 Filed 06/09/20 Page 5 of 8 PageID# 1360



strangers, then he certainly is not complying with the medical advice he has received. 1

Likewise, if Mr. Jaurequi is traveling to grocery stores and running errands, then the government

submits that he has misrepresented the extent to which he is homebound and unable to travel to

Alexandria. Of course, what exactly Mr. Dallmann and Mr. Jaurequi do each day is unknown

because they refuse to comply with the terms of their pretrial release.

        7.     Likewise, there is reason to doubt Mr. Dallmann’s claim that he lacks internet

access. His Pretrial Services Officer advised on June 9, 2020, that Mr. Dallmann, in the context

of arguing about whether he needs to obtain employment, has claimed previously that Mr.

Jaurequi and he operate a robotics company called “B Rated Studios.” If true, the government

finds it hard to believe that Mr. Dallmann and Mr. Jaurequi could operate such a business

without internet access.

        8.     Now, on top of Mr. Dallmann’s and Mr. Jaurequi’s refusal to submit to

meaningful supervision, Mr. Dallmann has moved to continue the June 19, 2020 hearing and, in

support, filed eight sealed exhibits ex parte. Defense counsel has represented to the government

that the exhibits pertain to Mr. Dallmann’s health. Yet, in email correspondence, defense

counsel has refused to provide copies to the government or provide a basis for withholding them.

It is likely that these exhibits are documents that even his Pretrial Services Officer has never

seen.

        9.     The government is unaware of any statute, procedural rule, or case that permits a

party to file exhibits ex parte in support of a motion to continue. Indeed, Mr. Dallmann’s

belated motion and memorandum for leave to file the exhibits ex parte and under seal (which




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         According to news reports, despite the coronavirus pandemic, casinos and other
businesses in Las Vegas reopened on June 4, 2020, and many are packed with tourists.


                                                  5
 Case 1:19-cr-00253-TSE Document 290 Filed 06/09/20 Page 6 of 8 PageID# 1361



Mr. Dallmann only filed after the government contacted his counsel and requested the exhibits

and the rationale for not disclosing them) cites a Local Rule that does not exist (“Rule 49.1”) and

a Fourth Circuit case that makes no mention of ex parte filings (In re Knight Pub. Co., 743 F.2d

231 (4th Cir. 1984). Mr. Dallmann has provided no explanation whatsoever as to why the

exhibits should be considered only on an ex parte basis. Rather, his motion only puts forth a

perfunctory argument for why the exhibits should be sealed. The government, of course, has no

issue with the exhibits being filed under seal or redacted pursuant to Rule 49.1 of the Federal

Rule of Criminal Procedure.




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                                                 6
 Case 1:19-cr-00253-TSE Document 290 Filed 06/09/20 Page 7 of 8 PageID# 1362



       10.     This Court has directed the government to respond to Mr. Dallmann’s Motion to

Continue, Dkt. 286, by Friday, June 12. The government intends to oppose the motion, and

needs access to the supporting documentation in order to respond effectively. The government

therefore asks this Court to deny Mr. Dallmann’s motion for leave to file exhibits ex parte and

asks this Court to direct defense counsel promptly to provide copies of the exhibits filed ex parte.




                                               Respectfully submitted,


                                               G. Zachary Terwilliger
                                               United States Attorney

 Date: June 9, 2020                      By:             /s/
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                                                 7
 Case 1:19-cr-00253-TSE Document 290 Filed 06/09/20 Page 8 of 8 PageID# 1363



                                 CERTIFICATE OF SERVICE

        hereby certify that on June 9, 2020, I electronically filed the foregoing with the Clerk of

Court using the CM/ECF system, which will send a notification of that electronic filling (NEF)

of the foregoing to the attorneys of record for the defendants.



                                              By:                    /s/
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                                                 8
